      Case 2:15-cr-00144-SMJ     ECF No. 392    filed 05/20/16   PageID.1297 Page 1 of 1

                                                                                        FILED IN THE
                                                                                    U.S. DISTRICT COURT
                                                                              EASTERN DISTRICT OF WASHINGTON



 1                                                                            May 20, 2016
                           UNITED STATES DISTRICT COURT                            SEAN F. MCAVOY, CLERK
 2
                         EASTERN DISTRICT OF WASHINGTON
 3
 4
     UNITED STATES OF AMERICA,                       No. 2:15-CR-144-SMJ-6
 5
 6                       Plaintiff,                  ORDER GRANTING AMENDED
                                                     MOTION TO MODIFY
 7   vs.                                             CONDITIONS OF RELEASE
 8
     JOSHUA M. TERPSTRA,                             ECF 391
 9
10                      Defendant.
11         Before the Court is Defendant’s Amended Motion to permit out-of-district
12   work, ECF No. 391. No party opposing the Motion, and the Court being fully
13   advised in the premises, the court GRANTS the motion. Accordingly,
14         It is ORDERED that the terms and conditions of Defendant’s pretrial
15   release are modified to permit Defendant to travel outside the Eastern District of
16
     Washington provided such travel is approved in advance by Pretrial Services, and
17
     defendant provides contact information to Pretrial Services prior to leaving the
18
     district, and the travel is necessary for employment.
19
20         All other terms and conditions of pretrial release not inconsistent herewith to

21   remain in full force and effect.
22
           IT IS SO ORDERED.
23
           DATED May 20, 2016.
24
25                                _____________________________________
26                                          JOHN T. RODGERS
                                   UNITED STATES MAGISTRATE JUDGE
27
28



     ORDER - 1
